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                         Exhibit 132

               October 17, 2024 Notice
                Delivery Confirmation
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From:        FedEx Tracking
To:          Josh Weiner
Subject:     Your shipment was delivered
Date:        10/21/2024 1:19:00 PM
CC:
BCC:

Message:
Warning: External email, use care with links & attachments




           Your shipment was delivered.
                                       Delivery Date
                                       De

                                Mon, 10/21/2024
                                   11:00am




                                           Delivered
                                                  ed to

                         10805 OLD MILL RD, OMAHA, NE 68154


                                       Rece
                                         ceived
                                             ed by

                                           A.APLOED




                                               1
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                          Report missing package




                 How wa
                     was yo
                         your delive
                                  very?




Tracking details

Track
   cking ID                          779331126492


From                                 SPARTA Insurance Holdings, Inc
                                     5 Batterson Park Road
                                     3rd Floor
                                     FARMINGTON, CT, US
                                     06032


To                                   Pennsylvania Insurance Company
                                     10805 OLD MILL RD




                                 2
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                                     OMAHA, NE, US
                                     68154


Shi
 hip date                            Thu 10/17/2024 06:05 PM


Num
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Total shipment
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Ser
 ervice                              Fed
                                      edEx 2Day®




                             TRACK SHIPMENT




                                 3
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                                                        2-day shipping a
                                                        low as $9.75
                                                        There’s no need to weigh packages
                                                        and calculate shipping costs with
                                                        FedEx One Rate®. Ship easier with flat
                                                        rate pricing and free packaging
                                                        options.


                                                          FIND A SHIPPING LOCATION




   Please do not respond to this message. This email was sent from an unattended mailbox. This
report was generated at approximately 12:19 PM CDT 10/21/2024.


All weights are estimated.


To track the latest status of your shipment, click on the tracking number above.


Standard transit is the date and time the package is scheduled to be delivered by, based on the
selected service, destination and ship date. Limitations and exceptions may apply. Please see the




                                               4
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Thank you for your business.


ID 1026




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